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                               SETTLEMENT AGREEMENT

         This Settlement Agreement is made and entered into this 28 day of February, 2020,

by and among Defendants ELNA CO., LTD. and ELNA America Inc. (together, "ELNA")

and Plaintiffs Chip-Tech, Ltd., Dependable Component Supply Corp., eIQ Energy, Inc., and

Walker Component Group, Inc. (together, the "Direct Purchaser Plaintiffs" or "Plaintiffs"),

who have filed suit as representatives of a certified Class of similarly situated direct

purchasers of aluminum, tantalum, and film capacitors ("Capacitors"), as defined below, in

the class action In re Capacitors Antitrust Litigation, Master Docket No. H-cv-3264-JD,

MDL No. 2801, currently pending before the Honorable James Donate in the United States

District Court for the Northern District of California. Plaintiffs enter into this Settlement

Agreement both individually and on behalf of the dh-ect purchaser Class. This Settlement

Agreement is intended by the Settling Parties (defined below) to fully, finally, and forever

resolve, discharge, and settle the Released Claims (defined below), upon and subject to the

terms and conditions hereof.

         WHEREAS, Direct Purchaser Plaintiffs ai*e prosecuting the Action (defined below)

on their own behalf and on behalf of the Class (defined below) against ELNA and other

Defendants and alleged co-conspirators;

         WHEREAS, the Class alleges, among other things, that ELNA participated in an

unlawful conspiracy to fix prices of Capacitors in violation of Section 1 of the Sherman Act,

15U.S.C. § 1;

         WHEREAS, ELNA has denied and continues to deny each and all of the Class's

claims and allegations of wrongdoing; has not conceded or admitted any liability in this

Action, or that it violated any duty owed to the Direct Purchaser Plaintiffs or the direct

purchaser Class; has denied and continues to deny all claims of liability against it arising out

of any of the conduct, statements, acts or omissions alleged in the Action; and further denies




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the allegations that Direct Purchaser Plaintiffs or any member of the Class (defined below)

was harmed by any conduct by ELNA alleged in the Action or otherwise;

         WHEREAS, the Class and Defendants (defined below) have engaged in extensive

discovery regarding the facts pertaining to the Class's claims and Defendants' defenses;

        WHEREAS, the Class and ELNA agree that neither this Settlement Agreement nor

any statement made in the negotiation thereof shall be deemed or construed to be an

admission or evidence of any violation of any statute or law or of any liability or

wrongdoing by ELNA or of the truth of any of the claims or allegations alleged in the

Action;

        WHEREAS, the Class has thoroughly analyzed the facts and the law regarding the

Action and have concluded that a settlement with ELNA at this time according to the terms

set forth below is fair, adequate and reasonable, and in the best interest of Direct Purchaser

Plaintiffs and the Class;

        WHEREAS, ELNA has concluded, despite its belief that it is not liable for the

claims asserted against it in the Action and that it has strong defenses thereto, that it will

enter into this Settlement Agreement to avoid further expense, inconvenience, and the

distraction of burdensome and protracted litigation, and thereby to put to rest this

controversy with respect to the Class and avoid the risks inherent in complex litigation;

        WHEREAS, this Settlement Agreement resolves the Class's claims in this Action

only with respect to U.S. Purchases ofCapacitors; and

        WHEREAS, arm's-length settlement negotiations have taken place between Class

Counsel and ELNA, and this Settlement Agreement, which together with the Escrow

Agreement (defined below), embodies all of the terms and conditions of the settlement

between ELNA and Direct Purchaser Plaintiffs, both individually and on behalf of the Class,

has been reached as a result of the parties' negotiations (subject to the approval of the Court)

as provided herein;




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        NOW, THEREFORE, IT IS HEREBY STIPULATED AND AGREED by and

among the Settling Parties (defined below), by and through their undersigned attorneys of

record, in consideration of the covenants, agreements, and releases set forth herein and for

other good and valuable consideration, that the Action be finally and fully settled,

compromised, and dismissed on the merits and with prejudice as to ELNA and the Releasees

(defined below), without costs as to the Class, or ELNA, upon and subject to the approval of

the Court, following notice to the Class, on the following terms and conditions:



Definitions

        The following terms, as used in this Settlement Agreement, shall have the following

meanings:



         a. "Action" means the direct purchaser individual and representative action

captioned In re Capacitors Antitrust Litigation, Master Docket No. H-cv-3264-JD, MDL No.

2801, pending in the United States District Court for the Northern District of California.

        b. "Affiliates means entities controlling, controlled by or under common control

with another entity.

         c. "Authorized Claimant" means any member of the Class who, in accordance with

the terms of this Settlement Agreement, submits a timely claim that is accepted by the Claims

Administrator and approved by the Court in accordance with the applicable distribution plan or

order of the Court requiring distribution to the Class.

         d. "Capacitors" means aluminum, tantalum or film capacitors, as they have been

defined in the Consolidated Third Amended Class Action Complaint and Complaint of

Flextronics International USA, Inc. filed on September 6,2017.

         e. Claims Administrator means that entity engaged by the Class to administer the

settlement, including but not limited to disseminating notice, receiving claims and disbursing the

Settlement Fund.




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         f. "Class" means the certified class of direct purchasers as defined m the Order

Granting DPPs' Motion for Approval of Plan for Notice ofPendency of Class Action, ECF No.

493 (entered February 28, 2019) in the Action, as follows:


                  All persons (including individuals, companies, or other entities) that
                  purchased Capacitors (including through controlled subsidiaries, agents,
                  affiliates, or joint ventures) directly from any of the Defendants, their
                  subsidiaries, agents, affiliates, or joint ventures from January 1, 2002 to
                  December 31, 2013 (the "Class Period"), and such persons are: (a) inside
                  the United States and were billed or invoiced for capacitors by one or
                  more Defendants during the Class Period (i.e., where capacitors were
                  "billed to" persons within the United States); or (b) outside the United
                  States and were billed or invoiced for capacitors by one or more
                  Defendants during the Class Period, where such capacitors were imported
                  into the United States by one or more Defendants (i.e., where the
                  capacitors were "billed to" persons outside the United States but "shipped
                  to" persons within the United States).

                  Excluded from the Class are: (1) Defendants (and their subsidiaries,
                  agents, and affiliates); (2) shareholders holding more than 10% equity
                  interest in Defendants; (3) each member of the Class that timely requests
                  exclusion by "opting out"; (4) governmental entities; and (5) the judges
                and chambers staff in this case, including their immediate families.
         g. "Class Counsel" refers to the Joseph Saveri Law Finn, Inc.

         h. "Class Member" means a person that falls within the definition of the Class and

that has not timely and validly excluded itself from the Class in accordance with the procedures

established by the Court.

         i. Class Period means the period from and including January 1, 2002 up to and

including December 31, 2013.

        j. "Class Representatives" refers to Plaintiffs Chip-Tech, Ltd., Dependable

Component Supply Corp., eIQ Energy, Inc., and Walker Component Group, Inc.

         k. "Court" or "District Court" means the United States District Court for the

Northern District of California.

         1. "Defendants" means Panasonic Corporation; Panasonic Corporation of North

America; SANYO Electric Co., Ltd.; SANYO North America Corporation; TOKJN Corporation

(f/k/aNEC TOKIN Corporation); TOKD4 America, Inc. (f/k/aNEC TOKIN America, Inc.);

KEMET Corporation; KEMET Electronics Corporation; Nippon Chemi-Con Corporation;

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United Chemi-Con, Inc.; Hitachi Chemical Co., Ltd.; Hitachi AIC Inc.; Hitachi Chemical Co.

America, Ltd.; Fujitsu Ltd.; Nichicon Corporation; Nichicon (America) Corporation; AVX

Corporation; Rubycon Corporation; Rubycon America Inc.; ELNA Co., Ltd.; ELNA America

Inc.; Matsuo Electric Co., Ltd.; TOSmN KOGYO Co., Ltd.; Holy Stone Enterprise Co., Ltd.;

Milestone Global Technology, Inc. (D/B/A HolyStone International); Vishay Polytech Co., Ltd.;

ROHM Co., Ltd.; ROHM Semiconductor U.S.A., LLC; Okaya Electric Industries Co., Ltd.;

Okaya Electric America Inc.; Taitsu Corporation; TaitsuAmerica, Inc.; Shinyei Kaisha; Shinyei

Technology Co., Ltd.; Shinyei Capacitor Co., Ltd.; Shinyei Corporation ofAmerica, Inc.; Nitsuko

Electronics Corporation; Nissei Electric Co., Ltd.; Soshin Electric Co., Ltd.; Soshin Electronics

of America, Inc.; and Shizuki Electric Co.,Inc.

        m. "Effective Date" means the first date after which all of the following events and

conditions have been met or have occurred:

                 i. All Settling Parties (defined below) have executed this Settlement

Agreement;

                 ii. The Court has entered an order granting final approval of this Settlement

Agreement under Federal Rule of Civil Procedure 23(e) and entered Final Judgment (defined

below) dismissing this Action with prejudice as to ELNA; and

                 iii. The time for appeal or to seek permission to appeal from the Court's

approval of this Settlement Agreement and entry of Final Judgment as to ELNA has expired, or,

if appealed, the Court's approval of this Agreement and the Final Judgment as to ELNA have

been affirmed in their entirety by the court to which such appeal has been taken and such

affirmance has become no longer subject to further appeal or review; provided, however, a

modification or reversal on appeal of any amount of Class Counsel's fees or expenses awarded

by the Court from the Settlement Fund or any plan of allocation or distribution of the Settlement

Fund shall not be deemed a modification of all or part of the terms of this Settlement Agreement

or the Final Judgment. Neither the provisions of Rule 60 of the Federal Rules of Civil Procedure




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nor the All Writs Act, 28U.S.C. § 1651, shall be taken into account in determining the above-

stated times.

        n. "Escrow Account" means that escrow account to be established with a bank or

trust company pursuant to the terms and conditions of the Escrow Agreement.

        o. "Escrow Agent" means the bank or trust company that agrees to establish and

maintain the Escrow Account pursuant to the terms of the Escrow Agreement.

        p. "Escrow Agreement" means an escrow agreement in a form mutually satisfactory

to the Class and ELNA.

        q. "Final Judgment" means a final order approving the Settlement Agreement under

Federal Rule of Civil Procedure 23(e) and dismissing the Action and all claims therein against

ELNA with prejudice as to the Class.

        r. "Person" means an individual or an entity.

        s. "Released Claims" means those claims released pursuant to Paragraphs 12 to 17

of this Settlement Agreement.

        t "Releasees" refers to ELNA and to all of its respective past and present, direct

and indirect, parent companies, subsidiaries, joint ventures, and Affiliates, the predecessors,

successors, and assigns of any of the above; and each and all of the present and former

principals, partners, officers, directors, employees, representatives, insurers, attorneys,

shareholders, heirs, executors, administrators, agents, and assigns of each of the foregoing. Each

of the Releasees shall have the full benefits of this Settlement Agreement, including, without

limitation, those benefits set forth in Paragraphs 12 to 17 of this Settlement Agreement, even

though the specific corporate name of each of the Releasees is not set forth herein.

        u. "Releasors" refers to each of Direct Purchaser Plaintiffs and the members of the

Class, and to their respective past and present officers, directors, employees, agents,

shareholders, attorneys, servants, representatives, parent companies, subsidiaries, Affiliates,

partners, insurers, receivers, and bankruptcy tmstees and the predecessors, successors, heirs,


executives, administrators, and assigns of any of the foregoing.

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        v. "Settlement Agreement" means this agreement, made and entered into on

February 28, 2020.

        w. "Settlement Amount" means the sum of Twenty-Five Million Dollars

($25,000,000) payable in lawful money ofthe United States as set forth in Paragraph 18 below.

        x. "Settlement Fund" means the Settlement Amount and any interest earned on that

amount.


        y. "Settling Parties" means, collectively, Direct Purchaser Plaintiffs, on behalf of

themselves and the Class, and ELNA.

        z. "U.S. Purchases" shall mean purchases ofCapacitors directly from any of the

Defendants other than a Defendant adjudicated not to have participated in a conspiracy as alleged

in the Action and other than a Defendant voluntarily dismissed from the Action on the basis of

insufficient evidence that the dismissed Defendant participated in a conspiracy as alleged in the

Action, where the Capacitors were shipped to a location within the United States or the related

invoices were sent to a location in the United States.



Approval of this Settlement Agreement and Dismissal^^^^^^^^
        1. Best Efforts to Effectuate this Settlement. The Class and ELNA shall use

their best efforts to effectuate this Settlement Agreement, obtain a Court order that ELNA is

excused from trial in this Action, currently set to begin on March 2, 2020, and shall cooperate in

the Class's efforts to promptly seek and obtain the Court's preliminary and final approval of

this Settlement Agreement and to secure the prompt, complete, and final dismissal with

prejudice of the Action as to ELNA.

        2. Notice to the Court of Settlement Agreement The Class and ELNA shall use

their best efforts to promptly execute this Settlement Agreement and file it with the Court by

no later than 6:00 p.m. pacific on February 28, 2020 with the intent of obtaining an order

from the Court excusing ELNA Stone from trial in this Action, currently set to begin on March

2,2020.




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         3. Motion for Preliminary Approval and Notice to Class. By no later than April

24, 2020, the Class shall submit this Settlement Agreement to the Court with a Motion for

Preliminary Approval, requesting entry of an order in form and substance mutually

satisfactory to the Class and ELNA prelurdnarily approving the settlement, authorizing

dissemmation of notice to the Class, that includes notice of the opportunity to opt-out, and

scheduling a hearing for final approval of the settlement. Additionally, Plaintiffs may seek

an award of attorneys' fees, reimbursement of costs, and incentive awards to Class

Representatives.


        4. The Preliminary Approval Motion shall include the proposed form of, method

for, and timetable for dissemination of notice to the Class and shall recite and ask the Court

to find that the proposed form of and method for dissemination of the notice to the Class

constitutes valid, due and sufficient notice to the Class, constitutes the best notice

practicable under the circumstances, and complies fully with the requirements of Federal

Rule of Civil Procedure 23. Notice to the Class will include notice based on a class list

developed by Class Counsel and notice by mail or email with all expenses paid from the

Settlement Fund.

         5. Class Counsel may, to the extent practicable and to the extent consistent with

this Settlement Agreement, seek to combine dissemination of notice of this Settlement

Agreement with notice of other settlement agreements reached with other Defendants to

reduce the expense of notice. The text of the joint notice shall be agreed upon by Plaintiffs

and ELNA before submission of the notice to the Court for approval.

         6. At least two (2) business days prior to the filing of any motions or other

papers in connection with this Settlement Agreement, including without limitation, the

Preliminary Approval Motion and the Motion for Final Approval of the Settlement, Class

Counsel will send a draft of these papers to counsel for ELNA. The text of any proposed

form of order preliminarily or finally approving the Settlement shall be agreed upon by

Plaintiffs and ELNA before it is submitted to the Court.

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        7. Claims Administrator. The Class shall retain a Claims Administrator, which

shall be responsible for the claims administration process, distribution to the Class,

withholding and paying applicable taxes, and other duties as provided herein. The fees and

expenses ofthe Claims Administrator shall be paid exclusively out of the Settlement Fund.

In no event shall ELNA be separately responsible or liable for any fees or expenses of the

Claims Administrator.

        8. Motion for Final Approval and Entry of Final Judgment Not less than

thirty-flve (35) calendar days prior to the date set by the Court to consider whether this

Settlement should be finally approved, Plaintiffs shall submit, and ELNA shall not object to,

a Motion for Final Approval of the Settlement by the Court, seeking the following:


        a. Fully and finally approvitig this Settlement Agreement and its terms as being
                 a fair, reasonable, and adequate settlement as to the Class within the meaning
                 of Rule 23(e) ofthe Federal Rules of Civil Procedure and directing its
                 consummation according to its terms and conditions;

        b. Finding that the notice given to the Class constitutes the best notice practicable
                 under the circumstances and complies in all respects with the due, adequate
                 and sufficient notice requirements of Federal Rule of Civil Procedure 23, and
                 meets the requirements of due process;

        c. Directing that, as to ELNA, the Action be dismissed with prejudice and, except
                 as provided for m this Settlement Agreement, without costs;

        d. Discharging and releasing the Releasees from the Released Claims;

        e. Permanently barring and enjoining the institution and prosecution, by any
                 member of the Class that has not previously opted out, of any other action
                 against the Releasees based on the Released Claims;

        f. Reserving continuing and exclusive jurisdiction over the settlement and this
                 Settlement Agreement, including all future proceedmgs concerning the
                 administration, interpretation, consummation, and enforcement of this
                 settlement, to this United States District Court for the Northern District of
                 California; and

         g. Finding under Federal Rule of Civil Procedure 54(b) that there is no just
                reason for delay and directing that the Judgment of dismissal as to ELNA shall
                 be final and entered forthwith.




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No later than two (2) business days after the Court fully and finally approves this Settlement

Agreement and its terms. Plaintiffs shall seek entry of Final Judgment as to ELNA.

         9. Stay Order. Upon the execution of this Settlement Agreement, the Action shall

be stayed as against ELNA. Should the Action be tried against any of the Defendants that

remain in the Action, the parties specifically agree that any findings therein shall not be

binding on or admissible m evidence against ELNA or prejudice ELNA in any way in any

future proceeding involving ELNA.

         10. Upon the date that the Court enters an order preliminarily approvmg the

Settlement Agreement, Direct Purchaser Plaintiffs and every member of the Class shall be

barred and enjoined from commencing, instituting or continuing to prosecute any action or

any proceeding in any court of law or equity, arbitration tribunal, administrative forum or

other forum of any kind based on the Released Claims.

         11. Nothing in this Settlement Agreement shall prohibit the Class or Class

Counsel from continuing to participate m discovery in the Action against Defendants or third

parties other than ELNA.



Release and Discharge

         12. Released Claims. In addition to the effect of the Final Judgment entered in

accordance with this Settlement Agreement, upon the occurrence of the Effective Date and

in consideration of payment of the Settlement Amount specified in Paragraph 18 of this

Settlement Agreement, the Releasees shall be completely released, acquitted, and forever

discharged from any and all manner of claims, demands, rights, actions, suits, and causes of

action, whether class, individual, or otherwise in nature, damages whenever incurred,

liabilities of any nature whatsoever, including costs, expenses, penalties, injuries, and

attorneys' fees that Releasors, or any one of them, whether directly, representatively,

derivatively, or in any other capacity, ever had, now have, or hereafter can, shall, or may

have against the Releasees, whether known or unknown, relating in any way to the conduct


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by Releasees alleged in the Action and any joint and several liability arising from the

conduct of any of the Defendants in the Action prior to the Effective Date arising under or

relating to any federal or state antitrust laws, unfair competition, unfair practices or trade

practice laws, civil conspiracy, or common law or statutory fraud claims, whether such

claims are known or unknown, suspected or unsuspected, asserted or unasserted, foreseen or


unforeseen, actual or contingent, liquidated or unllquidated, regardless of legal theory and

regardless of the type or amount of relief or damages claimed, including, but not limited to,

any claims arising out of, resulting from, or in any way related to any conduct regardless of

where it occurred at any time prior to December 31, 2013, concerning the purchase, pricing,

selling, discounting, marketing, manufacturing or distributing ofCapacitors in the United

States or its territories or for delivery in the United States or its territories. The Released

Claims also include, but are not limited to, all claims asserted or which could have been

asserted in the Action relating to or arising out of the facts, occurrences, transactions,

statements, or other matters alleged in the Action including, but not limited to, claims

arising under federal or state antitrust, unfair competition, unfair practices, price

discrimination, unitaiy pricing, trade practice, or civil conspiracy law, including without

limitation the Sherman Act, 15 U.S.C. § 1 et seq., but only to the extent they concern the

purchase, pricing, selling, invoicing, discounting, marketing, manufacturing and/or

distributing ofCapacitors in the United States and its territories or for delivery in the United

States and its territories. The Released Claims do not include any claim for any product

defect, breach of warranty, breach of contract, claim under the Uniform Commercial Code,

claim for personal or bodily mjury, or claims based on indirect purchases ofCapacitors.

         13. Covenant Not to Sue. Releasors shall not, after the Effective Date of this

Settlement Agreement, sue or otherwise seek to establish liability against ELNA or any of

the Releasees based, in whole or in part, upon any of the Released Claims or conduct at

issue in the Released Claims relating to the purchase, pricing, selling, invoicing,

discounting, marketing, manufactmng and/or distributing ofCapacitors in the United States

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and its territories or for delivery in the United States and its territories. Releasors and Class

Counsel acknowledge that they and ELNA each consider it to be a material term of this

Settlement Agreement that all Releasors will be bound by the provisions of this paragraph.

        14. Upon the acceptance by the Claims Administrator and approval by the Court

of a claim timely submitted by an Authorized Claimant, ELNA waives and relinquishes as

against each such Authorized Claimant any rights that it might otherwise have pursuant to

arbitration agreements, forum selection clauses, or jury waiver clauses with respect to the

Released Claims.

        15. Waiver of California Civil Code § 1542 and Similar Laws. The Releasors

acknowledge that for the consideration received hereunder, it is their intention to release,

and they are releasing all Released Claims, whether known or unknown. In furtherance of

this intention, the Releasors expressly waive and relinquish, to the fullest extent permitted

by law, any rights or benefits conferred by the provisions of California Civil Code Section

1542 (Section 1542") and similar statutes or common law principles in other states. The

Releasors acknowledge that they have been advised by Class Counsel of the contents and

effects of California Civil Code Section 1542, which provides:


                 A general release does not extend to claims that the creditor
                 or releasing party does not know or suspect to exist in his or
                 her favor at the time of executing the release and that if
                 known by him or her, would have materially affected his or
                 her settlement with the debtor or released party.

        16. The provisions of the Release set forth above in Paragraph 11 shall apply

according to their terms, regardless of provisions of Section 1542 or any equivalent, similar,

or comparable present or future law or principle of law of any jurisdiction. The Releasors

may hereafter discover facts other than or different from those that they know or believe to

be true with respect to the subject matter ofthe Released Claims, but the Releasors hereby

expressly waive and fully, finally, and forever relinquish any and all rights and benefits

existing under (i) Section 1542 or any equivalent, similar, or comparable present or future

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law or principle of law of any jurisdiction and (h) any law or principle of law of any

Jurisdiction that would limit or restrict the effect or scope of the provisions of the release

and covenant not to sue set forth in Paragraphs 12 and 13.

         17. Claims Excluded from Release. Nothing in this Settlement Agreement is

intended to limit, reduce or affect whatever rights any member of the Class may have to

seek damages or other relief in the Action or elsewhere from any person or entity other than

ELNA or any Releasee, as that term is defined herein, to the fullest extent allowed by law.

This Settlement Agreement does not settle or compromise any claim by any member of the

Class asserted in the Action against any Defendant other than ELNA and the Releasees.

ELNA's sales to the Class shall not be removed from the Action for purposes of the Class

asserting joint and several liability or any derivative liability against any Defendants that

remain m the Action.



Settlement Consideration: Payment

         18. Settlement Payment. Subject to the provisions hereof, and in full, complete,

and final settlement of the Action as provided herein, ELNA shall cause ELNA to pay

$2,500,000 into the Escrow Account within thirty (30) calendar days of execution of this

Settlement Agreement. ELNA shall cause ELNA to pay the balance of the Settlement

Amount, $22,500,000, on or before February 28, 2021.

         19. Notice) Fees, and Costs. Upon the Court's order granting the Preliminary

Approval Motion, $200,000 of the Settlement Fund shall be immediately available for

reimbursement of costs, fees, and expenses related to providing notice to the Class. For

puq^oses of clarification, such costs, fees, and expenses related to providing notice to the

Class shall be paid exclusively from the Settlement Fund.

         20. No Additional Payments by ELNA. Under no circumstances will ELNA be

required to pay more or less than the Settlement Amount stated in this Settlement Agreement




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and the settlement set forth herein, including any costs owed to Class Counsel by court

order or otherwise.


         21. No Other Discovery. From and after the date this agreement is fully

executed, neither ELNA nor the Class shall file motions against the other or initiate or

participate in any discovery, motion, or proceeding directly adverse to the other in

connection with the Action, except that ELNA will work in good faith to provide a corporate

certification to establish that certain documents produced in this Action to be introduced at trial are

business records under 803(6), recognizing that no individual will have personal knowledge of all

the records and that certain limited documents may not be ordinary business records. ELNA and the

Class shall not be obligated to respond or supplement prior responses to formal discovery

that has been previously propounded by the other in the Action.



Settlement Fund

         22. Each Class member shall look solely to the Settlement Fund for settlement

and satisfaction, as provided herein, of all claims released by the Releasors pursuant to

Paragraphs 11 to 16 herein. Except as provided by order of the Court upon fmally

approving and giving effect to the Settlement Agreement, no Class member shall have any

interest in the Settlement Fund or any portion thereof.

         23. Before the Effective Date, disbursements for expenses associated with

providing notice of the settlement to the Class, expenses associated with administering the

settlement, and any payments and expenses incurred in connection with taxation matters

relating to the settlement and this Settlement Agreement may be made from the Settlement

Fund. In the event the Settlement Agreement is disapproved, rescinded, or the Effective

Date does not occur, such amounts shall be refunded to ELNA.

         24. All payments into the Escrow Account shall, when made, be invested in

instruments secured by the full faith and credit of the United States and any interest earned

thereon shall become part of the Settlement Fund. Such portions of the Settlement Fund as


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may reasonably be needed to pay current expenses associated with providing notice to the

Class and administering the Settlement Fund may be paid from the Escrow Account.

          25. No Liability for Distribution of Settlement Fund. Except as provided in

Paragraph 18, neither ELNA nor its counsel shall have any responsibility for, interest in,

financial obligation for, or liability whatsoever with respect to the investment, distribution,

use, or administration of the Settlement Fund, including, but not limited to, the costs and

expenses of such investment, distribution, or administration. ELNA and its counsel shall

likewise have no responsibility for, interest in, financial obligation for, or liability

whatsoever with respect to the allocation or distribution of the Settlement Fund and shall not

be responsible or otherwise liable for any disputes relating to the amount, allocation, or

distribution of any fees, costs, or awards. Further, after making the payments described in

Paragraph 18 of this Settlement Agreement, ELNA shall not be liable for any additional

payments to the Class or Class Counsel pursuant to this Settlement Agreement.

          26. Distribution of Net Settlement Fund. After the Effective Date, the

Settlement Fund shall be distributed in accordance with a distribution plan that Class Counsel
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shall submit at the appropriate time for approval by the Court.

          27. Attorneys' Fees. Class Counsel may, in its sole discretion, seek an award of

Attorneys Fees, reimbursement of costs, and incentive awards to Class Representatives at

the time of filing the Preliminary Approval Motion or at the time notice is disseminated to

the Class.

          28. The procedure for, and the allowance or disallowance by the Court of, any

application by Class Counsel for attorneys' fees and expenses are not part of the Settlement,

and are to be considered by the Court separately from the Court's consideration of the

fairness, reasonableness and adequacy of the Settlement. Any order or proceeding relating

to any application for, or approval of, attorneys' fees and expenses, the pendency of any

such application, or any appeal or review of an order relating thereto or reversal or




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modification thereof, shall not operate to terminate or cancel this Settlement Agreement, or

affect or delay the finality of the Judgment.

        29. Class Counsel shall have sole authority to determine the allocation of

attorneys' fees awarded by the Court. ELNA shall have no responsibility for, and no

liability whatsoever with respect to, the division of attorneys' fees and expenses among

Class Counsel, and any negotiation or dispute among Class Counsel in that regard shall not

operate to terminate or cancel this Settlement Agreement, or affect or delay the finality of the

Judgment. ELNA shall have no responsibility for, and no liability whatsoever with respect

to, any payment(s) to Class Counsel or to any other counsel representing any Direct

Purchaser Plaintiff or any member of the Class or to any other Person who may assert some

claim thereto or any fee and expense award that the Court may make in this Action, other

than as set forth in this Settlement Agreement.

        30. Direct Purchaser Plaintiffs and Class Counsel and any other counsel

representing any Direct Purchaser Plaintiff or the member of the Class shall be reimbursed

and paid solely out of the Settlement Fund for all costs, fees and expenses including, but not

limited to, attorneys' fees; past, current, or future litigation expenses (including, but not

limited to, experts' and consultants' fees and expenses); the costs of giving notice of this

settlement to the Class; and any incentive awards to the Class Representatives, subject to

application to and approval of the Court.

        31. Disbursement of such fees, costs, and expenses, as ordered by the Court, shall

not be delayed by reason of any appeal of the Final Judgment; provided, however, if the

Court's award of fees, costs, and expenses is vacated, reversed, or reduced on or as a result

of an appeal, Class Counsel shall within ten (10) business days after receiving written notice

from the Court of such vacatur, reversal, or reduction, make a refund to the Escrow Account

in the amount of such vacatur, reversal, or reduction with interest, and further provided that

if Plaintiffs or ELNA elect to rescind the Settlement Agreement pursuant to Paragraphs 34

and 35 below. Class Counsel shall within ten (10) business days after giving notice to or

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receiving notice from ELNA of such rescission, make a refund to the Escrow Account in the

amount of any such fees, costs, and expenses with interest, if any. The interest rate

applicable to any refund made to the Escrow Account pursuant to this paragraph shall be the

same interest rate earned by the Settlement Fund, if any, durmg the period between the

payment of approved attorneys fees, costs, and expenses and any such refund.


Disbursement of the Settlement Fund

         32. The Settlement Fund shall be disbursed as follows, or as otherwise ordered by

the Court.

         a. Prior to entry of Final Judgment:



                  i. Any fees and expenses incurred in admmistering the Escrow Account
                         and the Settlement Fund shall be paid from the Settlement Fund. The
                         costs of settlement notice and administration of the Settlement
                         Agreement and Settlement Fund shall be paid by the Escrow Agent to
                         the Claims Administrator with notice of such payments provided to
                         counsel for the Settling Parties;

                  it. Disbursements for the payment of any taxes (including any estimated
                         taxes, interest or penalties) due, as a result of income earned by the
                         Settlement Fund, shall be made promptly by the Escrow Agent with
                         notice of such disbursements provided to counsel for the Settling
                         Parties;

                  iii. As provided in Paragraph 19, an amount of cash, not to exceed
                         $200,000, shall be made available to Class Counsel out of the
                         Settlement Fund for purposes of defraying the actual cost of settlement
                         notice and related administrative costs;
         b. After entry of Final Judgment:


                  1. The attorneys' fees and litigation expenses approved by the Court may
                         be distributed to Class Counsel from the Settlement Fund within five
                         (5) business days of an order approving attorneys' fees and expenses.
                         Class Counsel may withdraw from the Settlement Fund and allocate
                         amongst counsel for the Direct Purchaser Plaintiffs or the Class any fees
                         and expenses so awarded to them by the Court; provided, however, that
                         in the event that the order(s) approving the fee and expense award is
                         reversed or modified on appeal, Paragraph 30 shall control;



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                ii. Additional fees or expenses incurred in connection with the
                       administration of the Escrow Account and the Settlement Fund,
                       including the fees and expenses incurred as part of notice and claims
                       administration, shall be paid from the Settlement Fund by the Escrow
                       Agent with notice of such disbursements provided to counsel for the
                       Settling parties;

                iii. Disbursements for the payment of any taxes (including any estimated
                       taxes, interest or penalties) due as a result ofmcome earned by the
                       Settlement Fund shall be made promptly by the Escrow Agent with
                       notice of such disbursements provided to counsel for the Settling
                       Parties;

        c. After the Effective Date:



                1. Any incentive awards awarded by the Court for services rendered to the
                       Class by Class Representatives as set forth in the proposed notice
                       forms ordered by the Court may be distributed to Class
                       Representatives from the Settlement Fund after the Effective Date of
                       the Settlement; and

                ii. The balance of the Settlement Fund after the payment of attorneys'
                       fees, costs and expenses, taxes, incentive awards, costs of notice and
                       administration of the Settlement and Settlement Fund, may be
                       distributed to Authorized Claimants in accordance with the plan of
                       allocation or distribution approved by the Court.
        33. Balance Remaining in Settlement Fund. In the event monies remain as

residue in the Settlement Fund followmg all distribution efforts approved by the Court

(whether by reason of tax refunds, uncashed checks or otherwise). Class Counsel shall move

the Court for an order disposing of all such funds, including additional possible distributions

to approved Class claimants. In the event that the cost of distributing such residual funds

exceeds the reasonable value of distributing such residual funds to class members, Class

Counsel may propose cypres distribution to be approved by the Court.



Rescission of the Settlement Agreement

        34. If the Court declines to approve this Settlement Agreement, or if such

approval is materially modified or set aside on appeal, or if the Court does not enter the

Final Judgment as provided in Paragraph 8, or if the Court enters the Final Judgment and


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order and appellate review is sought and, as a result of such review, the Effective Date does

not occur, then ELNA and the Plaintiffs shall each, in their respective sole discretion, have

the option to rescind this Settlement Agreement in its entirety by providing written notice to

the undersigned counsel, by personal delivery, facsimile, or by overnight courier within ten

(10) business days of the Court's order declining to approve this Settlement Agreement, or a

Court order materially modifying the terms of the of settlement or setting it aside on appeal,

or a Court order declining to enter Final Judgment, or an order on appeal that fails to affirm

Final Judgment. A modification or reversal on appeal of any amount of Class Counsel's

fees and expenses awarded by the Court from the Settlement Fund or any plan of allocation

or distribution of the Settlement Fund shall not be deemed a modification of all or part of

this Settlement Agreement or the Final Judgment.

         35. Upon notice of rescission as provided in Paragraphs 34 or'45 of this

Settlement Agreement, any and all amounts constituting the Settlement Fund (including, but

not limited to, any fees, costs, and/or expenses advanced to Class Counsel pursuant to

Paragraph 18 above) shall be returned forthwith to ELNA, except for any disbursements

made or incurred in accordance with Paragraphs 19 and 32.aJu of this Settlement

Agreement. In such event, the Escrow Agent shall disburse the Settlement Fund to ELNA

in accordance with this paragraph within fifteen (15) business days after receipt of either

(i) written notice signed by counsel for ELNA and Class Counsel stating that this Settlement

Agreement has been canceled or terminated, or (ii) any order of the Court so directing. If the

Settlement Agreement is rescinded, canceled, or terminated pursuant to Paragraph 34, any

obligations pursuant to this Settlement Agreement (other than disbursement of the

Settlement Fund to ELNA as set forth above) shall cease immediately.

         36. Use of Agreement as Evidence. The Settling Parties agree that this

Settlement Agreement, whether or not it shall become final, and any and all negotiations,

documents, and discussions associated with it, shall be governed by Federal Rule of

Evidence 408 and shall not be deemed or construed to be an admission or evidence of any

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violation of any statute or law or of any liability or wrongdoing by ELNA or of the truth of

any of the claims or allegations made in the Action, and evidence thereof shall not be

admissible or used directly or indirectly in any way in the Action or in any other action or

proceeding, except an action to enforce or interpret the terms of the Settlement Agreement.

The parties expressly reserve all of their rights if the settlement does not become final in

accordance with the terms of this Settlement Agreement.



Taxes

         37. Class Counsel shall be solely responsible for directing the Claims

Administrator to file all informational and other tax returns necessary to report any taxable

and/or net taxable income earned by the Settlement Fund. Further, Class Counsel shall be

solely responsible for directing the Escrow Agent to take out of the Settlement Fund, as and

when legally required, any tax payments, including interest and penalties due on income

earned by the Settlement Fund. ELNA shall have no responsibility to make any filings

relating to the Settlement Fund and shall have no responsibility to pay tax on any income

earned by the Settlement Fund or to pay any taxes on the Settlement Fund unless the

settlement is not consummated and the Settlement Fund is returned to ELNA. Other than as

specifically set forth herein, ELNA shall have no responsibility for the payment of taxes or

tax expenses. If, for any reason, for any period of time, ELNA is required to pay taxes on

income earned by the Escrow Account, the Escrow Agent shall, upon written instructions

from ELNA with notice to Class Counsel, timely pay to ELNA sufficient funds to enable it to

pay all state or federal taxes on income earned by the Escrow Account.

         38. For the purpose of § 468B of the Internal Revenue Code of 1986, as amended,

and the regulations promulgated thereunder, the "Administrator" of the Escrow Account

shall be the Claims Administrator, who shall timely and properly file or cause to be filed on

a timely basis, all tax retmns necessary or advisable with respect to the Escrow Account




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(including without limitation all income tax returns, all informational returns, and all returns

described in Treas. Reg. § 1.468B"2(1)).

        39. The parties to this Settlement Agreement and their counsel shall treat, and

shall cause the Claims Administrator to treat, the Escrow Account as being at all times a

"qualified settlement fund" within the meaning ofTreas. Reg. § 1.468B-L The parties, their

counsel, the Claims Administrator, and the Escrow Agent agree that they will not ask the

Court to take any action inconsistent with the treatment of the Escrow Account in such

manner. In addition, the Claims Administrator and, as required, the parties shall timely

make such elections as necessary or advisable to carry out the provisions of this paragraph,

including the "relation-back election" (as defined in Treas. Reg. § 1.468B-l(i)) back to the

earliest permitted date. Such elections shall be made in compliance with the procedures and

requirements contained in such regulations. It shall be the responsibility of the Claims

Administrator timely and properly to prepare and deliver the necessary documentation for

signature by all necessary parties and thereafter to cause the appropriate filing to occur. All

provisions of this Settlement Agreement shall be interpreted in a manner that is consistent

with the EscrowAccount being a "qualified settlement fund" within the meaning ofTreas.

Reg. § 1.468B-L Interest earned by the Settlement Fund (less any tax imposed upon such

interest) shall be for the benefit of the Class, less reasonable attorneys' fees and expenses

approved by the Court (and any interest awarded thereon), any Court-approved awards to

Plaintiffs, and payment of any and all administrative expenses associated with the Action or

the Settlement.


Miscellaneous

         40. Direct Purchaser Plaintiffs and the Class expressly warrant that, in entering into

the Settlement, they have relied solely upon their own knowledge and investigation, and not

upon any promise, representation, warranty, or other statement by ELNA not expressly

contained in this Settlement Agreement.


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         41. The agreed-upon procedures and requirements regarding Class members'

rights and options, including filing objections in connection with and/or appearing at the

final approval hearing, are intended to ensure the efficient administration of justice and the

orderly presentation of any Class members' objections to the Settlement Agreement, in

accordance with such Class member's due process rights. The Settling Parties will request

that the Order granting the Preliminary Approval Motion further provide that objectors that

fail to properly or timely file their objections, along with the required information and

documentation set forth above, or to serve them as provided above, shall not be heard during

the Final Approval Hearing, nor shall their objections be considered by the Court.

         42. Headings. The headings used in this Settlement Agreement are intended for

the convenience of the reader only and shall not affect the meaning or interpretation of this

Settlement Agreement.

         43. No Party Deemed To Be the Drafter. None of the parties hereto shall be

deemed to be the drafter of this Settlement Agreement or any provision hereof for the

purpose of any statute, case law, or rule of interpretation or construction that would or might

cause any provision to be construed against the drafter hereof.

         44. Entire Agreement This SettlementAgreement constitutes the entire

completed agreement among Plaintiffs and ELNA pertaining to the settlement of the Action

against ELNA. This Settlement Agreement may be modified or amended only by a writing

executed by Class Counsel and ELNA.

         45. With the exception of Paragraphs 12 to 17 of this Settlement Agreement, if

any one or more of the provisions of this Settlement Agreement shall for any reason be held

to be illegal, invalid or unenforceable in any respect, such lllegality, invalidity or

unenforceability shall not affect any other provision ifELNA's counsel and Class Counsel

mutually agree to proceed as if such illegal, invalid, or unenforceable provision had never

been included in the Settlement Agreement. Ifany portion or all of Paragraphs 12 to 17of

this Settlement Agreement shall for any reason be held to be illegal, invalid or unenforceable

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in any respect. Plaintiffs and ELNA shall each, in their sole discretion, have the option to

rescind this Settlement Agreement in its entirety by ten (10) business days written notice to

the undersigned counsel, by personal delivery, facsimile, or by overnight courier.

        46. Choice of Law. All terms ofthis Settlement Agreement shall be governed and

interpreted according to the substantive laws of the State of California without regard to its

choice of law or conflict of laws principles.

        47. Consent to Jurisdiction. The Court retains exclusive jurisdiction over all

matters relating to the implementation and enforcement of the Settlement Agreement. The

Settling Parties hereby irrevocably submit to the exclusive and continuing jurisdiction of the

Court for any suit, action, proceeding or dispute arising out of or related to this Settlement

Agreement or the applicability or interpretation of this Settlement Agreement, including

without limitation any suit, action, proceeding or dispute relating to the Released Claims and

Paragraphs 12 to 17 ofthis Settlement Agreement.

        48. Execution in Counterparts. This Settlement Agreement may be executed in

counterparts by counsel for Plaintiffs and ELNA, and a PDF signature shall be deemed an

original signature for purposes of executing this Settlement Agreement and so executed

shall constitute one agreement

        49. Notification of State Officials. ELNA shall notify federal and state officials

of this settlement as specified in 28 U.S.C. §§ 1715(a) & (b).

        50. Binding Effect. This Settlement Agreement shall be binding upon, and inure

to the benefit of, the successors and assigns of the parties hereto. Without limiting the

generality of the foregoing, each and every covenant and agreement herein by Direct

Purchaser Plaintiffs and Class Counsel shall be binding upon all Class members.

        51. Authorization to Enter Settlement Agreement Each of the undersigned

attorneys represents that he or she is fully authorized to conduct settlement negotiations and

to enter into the terms and conditions of, and to execute, this Settlement Agreement on

behalf of his or her respective clients, subject to Court approval.

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        52. Confidentiality of Settlement Negotiations. Class Counsel shall keep strictly

confidential and not disclose to any third party, including specifically any counsel

representing any other current or former party to the Action, any non-public information

regarding the Settling Parties' negotiation of this settlement or the Settlement Agreement,

except that the Settling Parties may file under seal any documents concerning this

Settlement or the negotiation of the Settlement Agreement in connection with a motion or

proceeding to enforce or contest the terms of this Settlement Agreement For the sake of

clarity, information contained within this Settlement Agreement shall be considered public,

and ELNA may issue a press release regarding execution of the Settlement Agreement and

the amount paid in connection with the Settlement Agreement.

        53. Notices. Any notice or other communication required or permitted to be

delivered to any party under this Settlement Agreement shall be in writing and shall be

deemed properly delivered, given and received when delivered by two means of delivery

(either by hand, by registered mail, by courier or express delivery service, by electronic mail,

or by facsimile) to the address, electronic mail address, or facsimile telephone number set

forth beneath the name of such party below (or to such other address, electronic mail

address, facsimile number or telephone number as such party shall have specified in a

written notice given to the other parties):



            If to Class Counsel: Joseph R. Saveri
                                         Joseph Saveri Law Firm, Inc.
                                         601 California Street, Suite 1000
                                         San Francisco, CA 94108
                                         tel. 415-500-6800
                                         fax. 415-395-9940
                                         jsaveri@saverilawfuTrn.com




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            If to ELNA: Thomas Mueller
                                 WILMER CUTLER PICKERTMG
                                 HALE AND DORR LLP
                                 1875 Pennsylvania Ave, NW
                                 Washington, DC 20006
                                 Telephone: (202) 663-6000
                                 Facsimile: (202) 663-6363




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IN WITNESS WHEREOF, the parties hereto, through thek fully authorized

representatives, have agreed to this Settlement Agreement as of the date first herein written

above.




                                                   By:

 JoseF?5 R. Saveri                                 Thomas Mueller
 Joseph Saveri Law Firm, Inc.                      WILMER CUTLER PICKERING
 601 California Street, Suite 1000                 HALE AND DORR LLP
 San Francisco, CA 94108                           1875 Pennsylvania Ave, NW
                                                   Washington, DC 20006
 Class Counsel
 for Direct Purchaser Plaintiffs                   Counsel for
                                                   ELNA CO., LTD. and ELNA America
                                                   Inc.




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